           1:18-cv-01137-CSB # 83          Page 1 of 1                                              E-FILED
Judgment in a Civil Case (02/11)                                      Monday, 28 October, 2019 10:36:54 AM
                                                                               Clerk, U.S. District Court, ILCD
                             UNITED STATES DISTRICT COURT
                                               for the
                                      Central District of Illinois

Fabian Brandon                           )
                                         )
              Plaintiff,                 )
                                         )
                      vs.                )              Case Number: 18-1137
                                         )
John Baldwin, Marcus Hardy,              )
Michael P. Melvin, Randy Pfister,        )
Susan Prentice, Robert Snyder, Greg      )
Kochel, Motteler, James Berry, Jeff      )
Eilts, John Zook, Kyle Miller, Curtis    )
Bailey, Anthony Rodriguez, Brian         )
Schmeltz, Terri Anderson,                )
Billie W. Greer, Sherry Benton,          )
Sharon Simpson, Kathleen Sandlin,        )
Chad M. Brown, Aberardo A. Salinas,      )
Lisa Qualls, Travis Bayler, Ray Lovell, )
John Doe I, Andrew Edwards, William )
Alley, Steven Lanterman, Kelly Hagg,     )
Andrea Moss, Thompson, John Doe II, )
Joel Diers, Scott T. Holte,              )
Vickie K. Kendrick, Gladyse C. Taylor, )
T Scott Keen, John Doe III, John Doe Iv. )
                                         )
              Defendants.                )

                                   JUDGMENT IN A CIVIL CASE

  ☐ JURY VERDICT. This action came before the Court for a trial by jury.             The issues
have been tried and the jury has rendered its verdict.

  ☒ DECISION BY THE COURT.                  This action came before the Court, and a decision has
been rendered.

      IT IS ORDERED AND ADJUDGED that this case is dismissed for failure to state a
claim upon which relief can be granted.

Dated:        10/28/2019

                                                        s/ Shig Yasunaga
                                                        Shig Yasunaga
                                                        Clerk, U.S. District Court
